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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                                  CRIMINAL NO. 07-50097-02

 VERSUS                                                    JUDGE S. MAURICE HICKS, JR.

 VERNON CLAVILLE                                           MAGISTRATE JUDGE HORNSBY

                                   MEMORANDUM ORDER

        Before the Court is a “Motion for Compensation of Jurors at Current Wages and

 Reimbursement to Primary Caregivers for Day Care Costs” (Record Document 51) filed by

 the defendant, Vernon Claville (“Claville”).        Claville contends that the current $40

 attendance fee paid to jurors is less than minimum wage and results in a disproportionate

 exclusion of “blacks and working class blue collar individuals.” Record Document 51 at 2.

 He also argues that the Court’s failure to reimburse primary caregivers of young children

 the full cost of day care during the term of their jury service will result in sex discrimination

 in the jury pool. See Record Document 51-2 at 1-2. Claville maintains that the de facto

 exclusion of blacks, women, daily wage earners, and primary caregivers for young children

 violates his constitutional rights, namely his Sixth Amendment right to be tried by a jury

 made up from a fair cross section of society.1 See id. at 4. The Government did not

 respond to Claville’s motion. For the reasons which follow, the Motion for Compensation

 of Jurors at Current Wages and Reimbursement to Primary Caregivers for Day Care Costs

 is DENIED.


        1
        In his motion, Claville seeks relief under the Fourth, Fifth, Sixth, Eighth and
 Fourteenth Amendments. See Record Document 51 at 1. Yet, the arguments developed
 in his motion and accompanying memorandum are based exclusively on the Sixth
 Amendment, with only a few passing references to the Fourteenth Amendment.
 Accordingly, this Court will consider only Claville’s Sixth Amendment challenge, as the
 other constitutional arguments appear to be perfunctory.
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        Title 28, United States Code, Section 1871(b)(1) provides that “a juror shall be paid

 an attendance fee of $40 per day for actual attendance at the place of trial.” Section

 1871(b) further states that “ a petit juror required to attend more than thirty days in hearing

 one case may be paid, in the discretion of the trial judge, an additional fee, not exceeding

 $10 more than the attendance fee, for each day in excess of thirty days on which he is

 required to hear such case.” Thus, the relief sought in Claville’s motion fails under the

 plain language of the Jury Selection and Service Act, as the Court is only required to pay

 jurors a $40 attendance fee and may, within its discretion, pay jurors who serve in a lengthy

 proceeding an additional $10 per day.

        “The Sixth Amendment guarantees a criminal defendant the right to a trial by a jury

 selected from a fair cross-section of the community.” U.S. v. Olaniyi-Oke, 199 F.3d 767,

 772-773 (5th Cir. 1999) (citation omitted). To establish a prima facie violation of the Sixth

 Amendment, Claville must demonstrate that the groups alleged to be excluded are

 “distinctive” groups in the community; that the representation of these groups in venires

 from which juries are selected is not fair and reasonable in relation to the number of such

 persons in the community; and that these underrepresentations are due to systematic

 exclusion of the groups in the jury-selection process. Id. at 773. Here, even if the Court

 assumes for the limited purpose of this ruling that Claville has identified “distinctive

 groups,” his Sixth Amendment challenge fails. In relation to the instant motion, Claville has

 presented no evidence regarding the actual number of blacks,2 women, daily wage


        2
          Claville has filed an additional motion arguing that the jury selection process utilized
 in the Western District of Louisiana is biased and does not comply with 28 U.S.C. § 1861
 et seq. because the jury pool represents a disproportionately low number of African
 Americans. See Record Document 41. Hence, the Court will more closely examine
 Claville’s race based challenge to the jury selection process in its ruling on Claville’s

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 earners, and primary caregivers for young children in the community. Thus, the Court has

 no comparison statistics and cannot examine whether the representation of these groups

 in venires from which juries are selected is fair and reasonable in relation to the number

 of such persons in the community. Claville has simply not met his burden of establishing

 a prima facie violation of the Sixth Amendment.

         Accordingly,

         IT IS ORDERED that the “Motion for Compensation of Jurors at Current Wages and

 Reimbursement to Primary Caregivers for Day Care Costs” (Record Document 51) be and

 are hereby DENIED.

         THUS DONE AND SIGNED in Shreveport, Louisiana on this the 24th day of March,

 2008.




 “Motion to Find the Jury Selection Process Utilized Bias and a Substantial Failure to
 Comply with 28 U.S.C. § 1861.” See id.

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